 Case 3:08-cr-00242-CCC    Document 1121     Filed 05/09/11   Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
 Plaintiff
 vs                                          CRIMINAL 08-0242CCC
 1) GILBERTO RODRIGUEZ
 2) ANGEL MENDEZ
 3) SUGEYL RODRIGUEZ
 4) BARBARA RAMOS
 5) YAMILET FAJARDO
 6) MARYLIN PINEDA
 7) MILDRED BAEZ
 8) PEDRO PEREZ
 9) CARMEN SEIN
 10) RICHARD PIETRI
 11) EUSEBIO MERCEDES
 12) GERALDO CASTRO
 13) GILBERTO MODESTO
 14) ONNIS ACOSTA
 15) MARILIZ SUAREZ
 16) FRANCISCO FONTANEZ
 17) SAMUEL ESCOBAR
 18) MARTIN PERNAS
 19) ANIBAL ROSSELLO
 20) SONYA CASTELLANOS
 21) MAXIMILIEN ESPINAL
 22) MIGUEL DE AZA
 23) HARRY REYES
 24) LOUIS CRUZ
 25) JULIO MARIN
 26) GLORIA CASTRO
 27) CESAR BERROA
 28) RAYSA PACHECO
 29) JULIO CASTRO
 30) ELBA TORRES
 31) GLENDA DAVILA
 32) RAYMOND RODRIGUEZ
 33) JOEL CASTILLO
 34) YOLANDA RODRIGUEZ
 Defendants
                    STATEMENT OF REASONS
           ORDER DATED MAY 6, 2011 (DOCKET ENTRY 1119)
      On May 4, 2011, defendants César Berroa and Raysa Pacheco filed a Motion for
Admission of Statements Under Fed.R.Evid. 804(b)(3) (docket entry 1108), joined by
 Case 3:08-cr-00242-CCC         Document 1121        Filed 05/09/11    Page 2 of 4

CRIMINAL 08-0242CCC                            2


defendants Gilberto Modesto and Gerardo Castro (docket entries 1109 and 1110), and
opposed by the United States the date after (docket entry 1114). Movants classified and
listed as “prior statements” of Dr. Rafael Jiménez-Méndez twenty-two questions posed to
him during the out-of-the-presence-of-the-jury inquiry on his claim against self-incrimination.
Immediately after listing the twenty-two questions to which Jiménez-Méndez raised his Fifth
Amendment privilege, movants state the following: “[a]s to the above questions, the defense
respectfully requests the admission of the following related inculpatory statement or
statements against interest of the declarant, Rafael Jiménez-Méndez that are pertinent to
the case, made in his MOI.” Motion, at p. 4. The MOI statements of Jiménez-Méndez,
Pablo Valentín and Gregorio Díaz-Colón offered as Rule 804(b)(3) statements are not direct
quotes of these statements as they appear in the memoranda prepared by the interviewer.
This makes unnecessarily difficult to determine whether they fall within the definition of
statement against interest, specifically the relevant portion of Rule 804(b)(3) which refers to
“[a] statement that a reasonable person in the declarant’s position would have made only
if the person believed it to be true because, when made, it . . . had so great a tendency . .
. to expose the declarant to civil or criminal liability.” Fed.R.Evid. 804(b)(3)(A).
       In any event, notwithstanding this procedural flaw in the presentation of the
statements offered under Rule 804(b)(3), none of the statements given by witnesses Rafael
Jiménez-Méndez, Pablo Valentín and Gregorio Díaz-Colón are admissible since all of them
were provided under a grant of immunity. Jiménez-Méndez’ October 15, 16, 17 and
December 5, 2007 interview statements were given pursuant to an October 15, 2007 proffer
letter which provided that “[s]o long as you abide by the terms of this agreement, you shall
have the protection afforded by direct use immunity; that is, the United States agrees that
no statements made or other information provided by you will be used against you directly
in any criminal case in the District of Puerto Rico.” See Exhibit 3 to United States’ opposition
(docket entry 1114-3), at p. 1. His April 7, 2008 and July 14, 2008 interview statements
came after he had entered into a Plea and Cooperation Agreement filed on March 12, 2008
in Criminal No. 07-302(JAG) (docket entry 1588 in said case). The terms of the cooperation
agreement are set forth at ¶ 12, pp. 5-6. The relevant part appears in the first sentence of
¶ 12(f) which reads: “The United States agrees that any self-incriminating information
 Case 3:08-cr-00242-CCC         Document 1121        Filed 05/09/11    Page 3 of 4

CRIMINAL 08-0242CCC                            3


provided pursuant to this agreement will not be used against the defendant.” Although the
Plea and Cooperation Agreement which is the basis for Jiménez-Méndez’ plea of guilty was
no longer in effect upon the government requesting that the conviction be vacated, this did
not occur until after Skilling v. United States, ___ U.S. ___, 130 S.Ct. 2896 (2010), was
decided on June 24, 2010. Regarding Pablo Valentín’s interview statements, preceded by
eight questions made to him during the Fifth Amendment inquiry, his June 8, July 11, July
20 and October 4, 2007 statements were all made under the protection of the direct use
immunity given in the May 21 and June 8, 2007 proffer letters which is identically worded as
the immunity grant of Mr. Jiménez-Méndez. The last interview statements offered are those
of Mr. Gregorio Díaz dated August 8, and October 4, 2007 which are covered by the August
8, 2007 proffer letter which provided him the protection offered by direct use immunity in the
same manner as the other two witnesses.
       The fact that all three declarants gave their statements at a time when they were
protected by direct use immunity defeats the “against interest” element. When they gave
their interview statements to law enforcement officers, the speakers were not concerned that
the statements they made could be used against them since they were expressly shielded
by the direct use immunity provided in their proffer letters, and, in the case of Jiménez-
Méndez, also in his cooperation agreement. The cases cited by the United States in its
opposition reflect situations where defendants obtained exclusion of statements by speakers
who enjoyed immunity and also where the government requested and obtained exclusion
for the same reasons. In both United States v. Williams, 809 F.2d 1072, 1083 (5th Cir. 1987)
and United States v. Clark, 2006 WL 3193769 (E.D. Mich. 2006), the defendants offered
statements made by declarants to federal agents under the protection of immunity. In both
cases, the Court found that they were inadmissible under Rule 804(b)(3) since under the
immunity granted the statements could not be used against the declarant and, therefore, did
not subject or tend to subject them to criminal liability. In United States v. Keltner, 147 F.3d
662, 672 (8th Cir. 1998), the government was not allowed to introduce grand jury testimony
as a statement against penal interest because it had granted immunity to the witness in
exchange for his testimony.
 Case 3:08-cr-00242-CCC        Document 1121      Filed 05/09/11    Page 4 of 4

CRIMINAL 08-0242CCC                          4


      For the reasons stated, the interview statements offered under Rule 804(b)(3) as
statements against penal interest of the declarants are excluded which led to the denial of
defendants’ motion for admission of such statements (docket entry 1108) by Order dated
May 6, 2011 (docket entry 1119).
      SO ORDERED.
      At San Juan, Puerto Rico, on May 9, 2011.




                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
